    Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 1 of 33




                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION




                                                  Case No. 4:14-CV-01287
IN RE KBR, INC. SECURITIES
                                                  Judge Lee H. Rosenthal
LITIGATION




               CLASS COUNSEL’S MOTION FOR AN AWARD OF
          ATTORNEYS’ FEES AND PAYMENT OF LITIGATION EXPENSES




     LABATON SUCHAROW LLP                          BERNSTEIN LITOWITZ BERGER
     Louis Gottlieb (pro hac vice)                  & GROSSMANN LLP
     140 Broadway                                  John Rizio-Hamilton (pro hac vice)
     New York, NY 10005                            1251 Avenue of the Americas
     Telephone: (212) 907-0700                     New York, NY 10020
     Facsimile: (212) 818-0477                     Telephone: (212) 554-1400
     Email: lgottlieb@labaton.com                  Facsimile: (212) 554-1444
                                                   Email: johnr@blbglaw.com



                   Class Counsel for Class Representatives and the Class




Dated: June 20, 2017
       Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 2 of 33




                                                   TABLE OF CONTENTS
                                                                                                                                          Page

PRELIMINARY STATEMENT .....................................................................................................1

SUMMARY OF THE ARGUMENT ..............................................................................................1

ARGUMENT ...................................................................................................................................5

I.        CLASS COUNSEL ARE ENTITLED TO AN AWARD OF ATTORNEYS’
          FEES FROM THE COMMON FUND ................................................................................5

II.       THE REQUESTED ATTORNEYS’ FEES ARE REASONABLE UNDER
          EITHER THE PERCENTAGE-OF-THE-FUND METHOD OR THE
          LODESTAR METHOD.......................................................................................................6

          A.         The Requested Attorneys’ Fees Are Reasonable Under the Percentage-of-
                     the-Fund Method ......................................................................................................7

          B.         The Requested Attorneys’ Fees Are Reasonable Under the Lodestar
                     Method .....................................................................................................................9

III.      OTHER FACTORS CONSIDERED BY COURTS IN THE FIFTH CIRCUIT
          CONFIRM THAT THE REQUESTED FEE IS FAIR AND REASONABLE .................11

          A.         The Johnson Factors Confirm that the Requested Fee Is Fair and
                     Reasonable .............................................................................................................12

                     1.         The Time and Labor Required ...................................................................12

                     2.         The Novelty and Difficulty of the Issues ...................................................13

                     3.         The Skill Required to Perform the Legal Services Properly, and the
                                Experience, Reputation and Ability of the Attorneys ................................16

                     4.         The Preclusion of Other Employment .......................................................17

                     5.         The Customary Fee and Awards in Similar Cases.....................................17

                     6.         The Contingent Nature of the Fee ..............................................................17

                     7.         The Amount Involved and the Results Achieved ......................................18

                     8.         The Undesirability of the Case ..................................................................19




                                                                       i
      Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 3 of 33




          B.         Other Factors Considered by the Courts Further Support the Requested
                     Fee as Fair and Reasonable ....................................................................................19

                     1.         Public Policy Considerations Support the Requested Fee .........................19

                     2.         The Requested Fee Has Been Approved by the Class
                                Representatives ..........................................................................................20

                     3.         The Reaction of the Class to Date Supports the Requested Fee ................21

IV.       THE REQUESTED EXPENSES ARE REASONABLE AND WERE
          NECESSARY TO ACHIEVE THE BENEFIT OBTAINED............................................21

V.        CLASS REPRESENTATIVES SHOULD BE AWARDED THEIR
          REASONABLE COSTS AND EXPENSES UNDER 15 U.S.C. §78-u-4(a)(4) ...............23

CONCLUSION ..............................................................................................................................25




                                                                    ii
      Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 4 of 33




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

In re Anadarko Petroleum Corp. Class Action Litig.,
    No. 4:12-CV-00900, 2014 WL 12599393 (S.D. Tex. Sept. 11, 2014) ......................................8

Barton v. Drummond Co.,
   636 F.2d 978 (5th Cir. 1981) .....................................................................................................5

Bateman Eichler, Hill Richards, Inc. v. Berner,
   472 U.S. 299 (1985) .............................................................................................................6, 19

Billitteri v. Sec. Am., Inc.,
    No. 3:09-cv-01568-F, 2011 WL 3585983 (N.D. Tex. Aug. 4, 2011) .............................. passim

Blum v. Stenson,
   465 U.S. 886 (1984) ...................................................................................................................7

Boeing Co. v. Van Gemert,
   444 U.S. 472 (1980) ...................................................................................................................5

Braud v. Transport Serv. Co. of Ill.,
   No. 05-1898, 2010 WL 3283398 (E.D. La. Aug. 17, 2010) ....................................................19

Burford v. Cargill, Inc.,
   No. 05-0283, 2012 WL 5471985 (W.D. La. Nov. 8, 2012) .................................................8, 17

Camden I Condo. Ass’n v. Dunkle,
  946 F.2d 768 (11th Cir. 1991) .................................................................................................19

City of Detroit v. Grinnell Corp.,
    495 F.2d 448 (2d Cir. 1974).....................................................................................................17

City of Pontiac Gen. Emps.’Ret. Sys. v. Lockheed Martin Corp.,
    954 F. Supp. 2d 276 (S.D.N.Y. 2013)........................................................................................8

City of Providence v. Aeropostale, Inc.,
    No. 11 Civ. 7132, 2014 WL 1883494 (S.D.N.Y. May 9, 2014), aff’d sub nom.
    Arbuthnot v. Pierson, 607 F. App’x 73 (2d Cir. 2015) ..............................................................8

DeHoyos v. Allstate Corp.,
  240 F.R.D. 269 (W.D. Tex. 2007) .....................................................................................10, 16



                                                                    iii
      Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 5 of 33




Di Giacomo v. Plains All Am. Pipeline,
   No. Civ. A. H-99-4137, 2001 WL 34633373 (S.D. Tex. Dec. 19, 2001) ..................................8

In re Enron Corp. Sec., Derivative & ERISA Litig.,
    586 F. Supp. 2d 732 (S.D. Tex. 2008) .....................................................................................10

In re Flag Telecom Holdings, Ltd. Sec. Litig.,
    No. 02-CV-3400 (CM)(PED), 2010 WL 4537550 (S.D.N.Y. Nov. 8, 2010) ................6, 10, 20

In re Friedman’s, Inc. Sec. Litig.,
    No. 1:03-cv-3475, 2009 WL 1456698 (N.D. Ga. May 22, 2009) .............................................8

In re Heartland Payment Sys., Inc. Customer Data Sec. Breach Litig.,
    851 F. Supp. 2d 1040 (S.D. Tex. 2012) ...................................................................................11

Hicks v. Morgan Stanley,
   No. 01 Civ. 10071(RJH), 2005 WL 2757792 (S.D.N.Y. Oct. 24, 2005)...................................6

Jenkins v. Trustmark Nat’l Bank,
   300 F.R.D. 291 (S.D. Miss. 2014) ...................................................................................5, 7, 20

Johnson v. Georgia Highway Express, Inc.,
   488 F.2d 714 (5th Cir. 1974) ........................................................................................... passim

Klein v. O’Neal, Inc.,
   705 F. Supp. 2d 632 (N.D. Tex. 2010) ............................................................................ passim

Leroy v. City of Houston,
   831 F.2d 576 (5th Cir. 1987) ...................................................................................................10

In re Lucent Techs., Inc. Sec. Litig.,
    327 F. Supp. 2d 426 (D.N.J. 2004) ..........................................................................................21

In re Marsh & McLennan Co. Sec. Litig.,
    No. 04 Civ. 8144 (CM), 2009 WL 5178546 (S.D.N.Y. Dec. 23, 2009) ..................................24

Missouri v. Jenkins,
   491 U.S. 274 (1989) .................................................................................................................10

In re OCA, Inc. Sec. & Derivative Litig.,
    No. 05-2165, 2009 WL 512081 (E.D. La. Mar. 2, 2009) ..........................................7, 8, 13, 18

Roussel v. Brinker Int’l, Inc.,
   No. H-05-3733, 2010 WL 1881898 (S.D. Tex. Jan. 13, 2010), aff’d, 441 F.
   App’x 222 (5th Cir. 2011) .......................................................................................................18



                                                                   iv
      Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 6 of 33




Schwartz v. TXU Corp.,
   No. 3:02-CV-2243-K, 2005 WL 3148350 (N.D. Tex. Nov. 8, 2005) ...........................7, 12, 16

Shaw v. Toshiba Am. Info. Sys., Inc.,
   91 F. Supp. 2d 942 (E.D. Tex. 2000) ...................................................................................7, 17

Stahl v. MasTec, Inc.,
   No. 8:05-CV-1265, 2008 WL 2267469 (M.D. Fla. May 20, 2008)...........................................9

Taft v. Ackermans,
    No. 02 Civ. 7951, 2007 WL 414493 (S.D.N.Y. Jan. 31, 2007) .................................................8

Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
    551 U.S. 308 (2007) .............................................................................................................6, 19

Union Asset Mgmt. Holding A.G. v. Dell, Inc.,
   669 F.3d 632 (5th Cir. 2012) ........................................................................................... passim

In re Veeco Instruments Inc. Sec. Litig.,
    No. 05 MDL 01695(CM), 2007 WL 4115808 (S.D.N.Y. Nov. 7, 2007) ................................20

Wal-Mart Stores, Inc. v. Visa U.S.A., Inc.,
   396 F.3d 96 (2d Cir. 2005).........................................................................................................7

In re Seitel, Inc. Sec. Litig.,
    No. 02-1566 (S.D. Tex. July 29, 2005)....................................................................................24

Simons v. Dynacq Healthcare, Inc.,
   No. H-03-5825 (S.D. Tex. Jan. 10, 2007) ................................................................................24

In re Tetra Techs., Inc. Sec. Litig.,
    No. 4:08-CV-00965 (S.D. Tex. Sept. 29, 2010) ......................................................................24



Statutes

15 U.S.C. §78-U-4(A)(4) ...............................................................................................................23

15 U.S.C. §78u-4(a)(4) ..................................................................................................................23

Other Authorities

H.R. Conf. Rep. No. 104-369 (1995), reprinted in 1995 U.S.C.C.A.N. 730 (1995) .....................20

MANUAL FOR COMPLEX LITIGATION, FOURTH, § 14.121 (2004) .....................................................7


                                                                    v
    Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 7 of 33




                                PRELIMINARY STATEMENT

       Court-appointed Co-Lead Counsel, Bernstein Litowitz Berger & Grossmann LLP

(“BLBG”) and Labaton Sucharow LLP (“Labaton”) (together, “Class Counsel”), having

achieved a Settlement of $10.5 million for the benefit of the certified Class in this securities class

action, respectfully move for an award of attorneys’ fees in the amount of 25% of the Settlement

Fund, or $2,625,000 plus interest at the same rate as earned by the Settlement Fund.1 Class

Counsel also seek payment of: (i) $816,260.97 in litigation expenses, and (ii) $7,113.64 in costs

and expenses incurred by Class Representatives directly related to their representation of the

Class, as authorized by the Private Securities Litigation Reform Act of 1995 (the “PSLRA”).

Class Counsel respectfully request that 50% of the attorneys’ fees awarded and 100% of the

approved expenses be payable immediately upon the Court’s approval of the fees and expenses,

with the balance of the attorneys’ fees to be payable when settlement distribution checks have

been mailed to Authorized Claimants.

                              SUMMARY OF THE ARGUMENT

       Plaintiffs’ Counsel2 vigorously litigated this case for nearly three years on an entirely

contingent basis against a tenacious and well-respected law firm. The $10.5 million proposed

Settlement, if approved by the Court, represents a favorable outcome for the Class.              The


       1
          Unless otherwise defined herein, capitalized terms shall have the meanings ascribed to
them in the Stipulation and Agreement of Settlement, dated as of April 5, 2017 (ECF No. 134-2)
(the “Stipulation”) or in the Joint Declaration of Louis Gottlieb and John Rizio-Hamilton in
Support of (I) Class Representatives’ Motion for Final Approval of Class Action Settlement and
Plan of Allocation and (II) Class Counsel’s Motion for an Award of Attorneys’ Fees and
Payment of Litigation Expenses (the “Joint Declaration” or “Joint Decl.”), filed herewith.
Citations to “¶” in this motion refer to paragraphs in the Joint Declaration.
        2
          Plaintiffs’ Counsel consist of Class Counsel and Liaison Counsel, Ajamie LLP.



                                                  1
    Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 8 of 33




Settlement is particularly beneficial in light of the significant litigation risks present in this case.

As discussed below, Defendants advanced powerful defenses to Class Representatives’ claims

and there was considerable uncertainty throughout the case as to whether the Class

Representatives would be able to obtain any recovery. Class Counsel respectfully submit that,

for the reasons discussed herein, Plaintiffs’ Counsel should be awarded the requested attorneys’

fees and litigation expenses. A court’s award of attorneys’ fees and expenses in connection with

a class settlement is reviewed for abuse of discretion. Union Asset Mgm’t Holding A.G. v. Dell,

Inc., 669 F.3d 632, 638 (5th Cir. 2012).

       As detailed in the accompanying Joint Declaration,3 to achieve the recovery here, Class

Counsel devoted substantial resources to pursuing this litigation by, among other things,

(i) conducting a thorough and wide-ranging factual investigation concerning the allegedly

fraudulent misrepresentations made by Defendants, which included a careful review of publicly

available information concerning the Company’s May 30, 2014 restatement of its financial

results (the “Restatement”) and interviews with 45 individuals who were either former KBR

employees or other persons with relevant knowledge concerning the Restatement; (ii) preparing

and filing a detailed Complaint; (iii) successfully opposing Defendants’ motion to dismiss the

Complaint; (iv) participating in oral argument on Defendants’ motion to dismiss; (v) successfully

moving for class certification; (vi) engaging in extensive fact discovery, which included Class


       3
         The Joint Declaration is an integral part of this submission and, for the sake of brevity,
the Court is respectfully referred to it for a detailed description of, among other things: the
history of the Action (¶¶ 10-34); the nature of the claims asserted (¶¶ 7-9); the negotiations
leading to the Settlement (¶¶ 55-56); the risks and uncertainties of continued litigation (¶¶ 64-
85); and a description of the services Class Counsel provided for the benefit of the Class (¶¶ 13-
14, 24, 29-31, 33, 35-54).



                                                   2
    Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 9 of 33




Counsel’s analysis of approximately 1.3 million pages of documents produced by Defendants

and approximately 78,000 pages of documents produced by non-party KPMG; (vii) taking or

defending 10 depositions (including taking 3 depositions in Canada pursuant to letters rogatory);

(viii) conferring with experts on accounting, damages and loss causation issues, as well as

industry experts on issues pertaining to pipe fabrication and modular assembly; and

(ix) engaging in an extensive mediation process with former Judge Daniel Weinstein and Jed

Melnick, including preparing detailed mediation briefs, attending a full-day mediation, and

engaging in lengthy follow-up negotiations. See ¶¶ 13-57.

       Class Counsel undertook these substantial efforts and achieved the proposed Settlement

in the face of daunting litigation risks.     For example, as explained in detail in the Joint

Declaration at ¶¶ 65-85 and summarized below, the Class Representatives faced substantial

challenges in establishing Defendants’ liability, in particular whether Defendants’ acted with

scienter. Among other things, Defendants had strong arguments that: (i) KBR’s Restatement

was not the result of intentional behavior designed to mislead investors, but was the result of

misjudgments made in the complex cost forecasting process for the Contracts at issue, which by

their nature required subjective predictions and were subject to change; (ii) there was no

evidence that any of the Individual Defendants knew that KBR’s financial statements were

incorrect when issued because the Contracts were accounted for and performed in a remote

subsidiary in Alberta, Canada, and none of the Individual Defendants was responsible for

preparing or reviewing the cost estimates at the core of this case; and (iii) Defendants’ conduct in

response to their becoming aware of a potential error in the cost forecasts—which included an

immediate internal investigation of the problem, the hiring of independent legal counsel and



                                                 3
    Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 10 of 33




accounting advisors to assist in that investigation, swift public disclosure of the problem, and the

voluntarily restatement of the erroneous financial statements—demonstrated good faith, not

fraudulent intent. Further, even if the Class Representatives were successful in establishing

liability, they faced several substantial risks in proving damages based on Defendants’ claim that

there were no recoverable damages on three of the four alleged corrective disclosures in the case.

       In light of these obstacles, the immediate $10.5 million cash recovery is a favorable result

that constitutes a significant portion of recoverable damages. ¶ 84. As compensation for their

efforts on behalf of the Class, Class Counsel request a fee award in the amount of 25% of the

Settlement Fund and payment of litigation expenses in the amount of $816,260.97. As discussed

below, the requested fee is well within the range of fees awarded in comparable class action

settlements, whether considered as a percentage of the Settlement or on a lodestar/multiplier

basis. Also, as discussed below, the requested fee represents a fractional or “negative” multiplier

of approximately 0.29 on Plaintiffs’ Counsel’s total lodestar (i.e., less than the value of the time

incurred by Plaintiffs’ Counsel in this litigation).

       Class Representatives, which are both sophisticated institutional investors, have endorsed

the requested fees and expenses as fair and reasonable. See Declaration of Gail Stone, Executive

Director of the Arkansas Public Employees Retirement System (“APERS”) (the “Stone Decl.”),

attached to the Joint Decl. as Exhibit 1, at ¶¶ 7-8; Declaration of E. Craig Young, on behalf of

IBEW Local No. 58 / SMC NECA Funds (the “Young Decl.”), attached to the Joint Decl. as

Exhibit 2, at ¶¶ 7-8.

       The reaction of the Class to date further supports the request. Pursuant to the Court’s

Preliminary Approval Order (ECF No. 141), more than 58,000 copies of the Notice have been



                                                   4
     Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 11 of 33




mailed to potential Class Members and nominees, and the Summary Notice was published in the

Wall Street Journal and transmitted over the PR Newswire.4 The Notice advised potential Class

Members that Class Counsel would seek fees up to 25% of the Settlement Fund and payment of

litigation expenses in an amount not to exceed $995,000. See Mailing Decl., Exhibit A. While

the deadline for Class Members to object to the requested attorneys’ fees and expenses has not

yet passed, to date, no objections to the attorneys’ fees or expenses set forth in the Notice have

been received.

       For all the reasons set forth below, Class Counsel respectfully request that the Court

approve their application for an award of attorneys’ fees and expenses.

                                          ARGUMENT

I.     CLASS COUNSEL ARE ENTITLED TO AN AWARD OF ATTORNEYS’ FEES
       FROM THE COMMON FUND

       The Supreme Court and the Fifth Circuit have long recognized that “a litigant or a lawyer

who recovers a common fund for the benefit of persons other than himself or his client is entitled

to a reasonable attorney’s fee from the fund as a whole.” Boeing Co. v. Van Gemert, 444 U.S.

472, 478 (1980); see also Barton v. Drummond Co., 636 F.2d 978, 982 (5th Cir. 1981). Courts

recognize that awards of fair attorneys’ fees from a common fund serve the “twin goals of

removing a potential financial obstacle to a plaintiff’s pursuit of a claim on behalf of a class and

of equitably distributing the fees and costs of successful litigation among all who gained from

the named plaintiff’s efforts.” Jenkins v. Trustmark Nat’l Bank, 300 F.R.D. 291, 306 (S.D. Miss.

       4
        See Declaration of Stephanie A. Thurin Regarding: (A) Mailing of the Notice and Proof
of Claim Form; (B) Publication of the Summary Notice; and (C) Report on Requests for
Exclusion Received to Date (the “Mailing Decl.”), attached as Exhibit 3 to the Joint Decl., at
¶¶ 2-9.



                                                 5
      Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 12 of 33




2014) (citation omitted); see also In re Flag Telecom Holdings, Ltd. Sec. Litig., No. 02-CV-3400

(CM)(PED), 2010 WL 4537550, at *23 (S.D.N.Y. Nov. 8, 2010) (awards to counsel from a

common fund “encourage skilled counsel to represent those who seek redress for damages

inflicted on entire classes of persons, and to discourage future misconduct of a similar nature”).

        The Supreme Court has also emphasized that private securities actions, like this Action,

are “an essential supplement to criminal prosecutions and civil enforcement actions” brought by

the SEC. Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 313 (2007); accord

Bateman Eichler, Hill Richards, Inc. v. Berner, 472 U.S. 299, 310 (1985) (private securities

actions provide “‘a most effective weapon in the enforcement’ of the securities laws and are ‘a

necessary supplement to [SEC] action.’”) (citation omitted). Compensating plaintiffs’ counsel

for the risks they take in bringing these actions is essential, because “[s]uch actions could not be

sustained if plaintiffs’ counsel were not to receive remuneration from the settlement fund for

their efforts on behalf of the class.” Hicks v. Morgan Stanley, No. 01 Civ. 10071(RJH), 2005

WL 2757792, at *9 (S.D.N.Y. Oct. 24, 2005).

II.     THE REQUESTED ATTORNEYS’ FEES ARE REASONABLE UNDER EITHER
        THE PERCENTAGE-OF-THE-FUND METHOD OR THE LODESTAR
        METHOD

        Fees awarded to counsel from a common fund can be determined under either the

percentage-of-the-fund method or the lodestar method. See Dell, 669 F.3d at 644 (district courts

have “the flexibility to choose between the percentage and lodestar methods in common fund

cases”). Under either method, the requested fee in this Action is fair and reasonable.




                                                 6
    Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 13 of 33




       A.      The Requested Attorneys’ Fees Are
               Reasonable Under the Percentage-of-the-Fund Method

       The Supreme Court has endorsed the percentage method, stating that “under the

‘common fund doctrine’. . . a reasonable fee is based on a percentage of the fund bestowed on

the class.” Blum v. Stenson, 465 U.S. 886, 900 n.16 (1984). The Fifth Circuit has also approved

of the percentage method, noting that it “brings certain advantages . . . because it allows for easy

computation” and “aligns the interests of class counsel with those of the class members.” Dell,

669 F.3d at 643 (“district courts in this Circuit regularly use the percentage method”); see also

Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 121 (2d Cir. 2005) (the percentage

method “directly aligns the interests of the class and its counsel and provides a powerful

incentive for the efficient prosecution and early resolution of litigation”).

       The requested fee of 25% is well within the range of percentage fees awarded in the Fifth

Circuit in comparable cases. See Schwartz v. TXU Corp., No. 3:02-CV-2243-K, 2005 WL

3148350, at *27 (N.D. Tex. Nov. 8, 2005) (“courts throughout this Circuit regularly award fees

of 25% and more often 30% or more of the total recovery under the percentage-of-the recovery

method”); Shaw v. Toshiba Am. Info. Sys., Inc., 91 F. Supp. 2d 942, 972 (E.D. Tex. 2000)

(“based on the opinions of other courts and the available studies of class action attorneys’ fees

awards . . . this Court concludes that attorneys’ fees in the range from twenty-five percent (25%)

to [33%] have been routinely awarded in class actions”); Jenkins, 300 F.R.D. at 307 (“it is not

unusual for district courts in the Fifth Circuit to award percentages of approximately one third”)

(citation omitted); In re OCA, Inc. Sec. & Derivative Litig., No. 05-2165, 2009 WL 512081, at

*19 (E.D. La. Mar. 2, 2009) (“In securities suits, common fee awards generally fall within the 20

to 33 per cent range”); MANUAL      FOR   COMPLEX LITIGATION, FOURTH, § 14.121, at 188 (2004)


                                                  7
   Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 14 of 33




(noting that “[a]ttorney fees awarded under the percentage method are often between 25% and

30% of the fund”).

       A review of attorneys’ fees awarded in class actions with comparably sized settlements in

this Circuit strongly supports the reasonableness of the 25% fee request. See In re Anadarko

Petroleum Corp. Class Action Litig., No. 4:12-CV-00900, 2014 WL 12599393, at *1 (S.D. Tex.

Sept. 11, 2014) (awarding 25% of $12,500,000 settlement fund with 1.01 multiplier); Burford v.

Cargill, Inc., No. 05-0283, 2012 WL 5471985, at *6 (W.D. La. Nov. 8, 2012) (awarding 33.3%

of $27.5 million settlement fund with 1.78 multiplier); OCA, 2009 WL 512081, at *25 (awarding

28.5% of $6.5 million common fund with a 1.6 multiplier); Di Giacomo v. Plains All Am.

Pipeline, No. Civ. A. H-99-4137, 2001 WL 34633373, at *8-11 (S.D. Tex. Dec. 19, 2001)

(awarding 30% of $24.1 million common fund with a 5.3 multiplier). Indeed, fee awards of 25%

or more are often made in considerably larger settlements as well. See, e.g., Billitteri v. Sec. Am.,

Inc., No. 3:09-cv-01568-F, 2011 WL 3585983, at *4, *9 (N.D. Tex. Aug. 4, 2011) (awarding

25% of a $80 million settlement fund with a 1.97 multiplier); Klein v. O’Neal, Inc., 705 F. Supp.

2d 632, 678-81 (N.D. Tex. 2010) (awarding 30% of a settlement between $90 and $110 million

with a multiplier of approximately 2.5).5 In sum, the percentage requested is reasonable.



       5
         The requested fee is also well within the range of percentage fees that have been granted
in comparable securities class actions in other Circuits. See, e.g., City of Providence v.
Aeropostale, Inc., No. 11 Civ. 7132, 2014 WL 1883494, at *12 (S.D.N.Y. May 9, 2014), aff’d
sub nom. Arbuthnot v. Pierson, 607 F. App’x 73 (2d Cir. 2015) (awarding 33% of $15 million
settlement); City of Pontiac Gen. Emps.’ Ret. Sys. v. Lockheed Martin Corp., 954 F. Supp. 2d
276, 281 (S.D.N.Y. 2013) (awarding 25% of $19.5 million settlement and noting that 25% is an
“increasingly used benchmark”); Taft v. Ackermans, No. 02 Civ. 7951, 2007 WL 414493, at *10-
11 (S.D.N.Y. Jan. 31, 2007) (awarding 30% of $15.2 million settlement); In re Friedman’s, Inc.
Sec. Litig., No. 1:03-cv-3475, 2009 WL 1456698, at *2-4 (N.D. Ga. May 22, 2009) (awarding



                                                 8
   Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 15 of 33




       B.      The Requested Attorneys’ Fees Are Reasonable Under the Lodestar Method

       Under Fifth Circuit law, if the Court determines the attorneys’ fees based on the

percentage method, the Court must “cross-check” the proposed fee for reasonableness by

considering counsel’s lodestar and the other considerations set out in Johnson v. Georgia

Highway Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974) (“Johnson”). See Dell, 669 F.3d at

642-44. The Court may also determine the reasonable attorneys’ fees in the first instance by

using the lodestar method, as long as the Johnson factors are also considered. See id. at 644. In

this case, the lodestar method – whether used directly or as a “cross-check” on the percentage

method – strongly demonstrates the reasonableness of the requested fee.

       As the Court is aware, under the lodestar method, “the court computes fees by

multiplying the number of hours reasonably expended on the litigation by a reasonable hourly

rate and, in its discretion, applying an upward or downward multiplier.” Id. at 642-43. In

securities class actions, fees representing multiples above the lodestar are typically awarded to

reflect contingency fee risks and other relevant factors. Here, counsel is asking for no multiplier.

       Here, Plaintiffs’ Counsel spent a total of 19,573.70 hours of attorney and other

professional support time prosecuting this Action.6 See ¶ 103. Based on Plaintiffs Counsel’s

current hourly rates, their total lodestar is $9,166,598.75.7 See id. This lodestar is a function of



30% of $14.9 million settlement); Stahl v. MasTec, Inc., No. 8:05-CV-1265, 2008 WL 2267469,
at *2 (M.D. Fla. May 20, 2008) (awarding 27.9% of $13.1 million settlement).
        6
          As set forth in their firm declarations (Exhibits 4 and 5 to the Joint Declaration), Class
Counsel have included time from September 9, 2014 (the date of entry of the Order appointing
them as Co-Lead Counsel) through and including January 23, 2017 (the date when the agreement
in principle to settle the Action was reached).
        7
          The Supreme Court and courts in this Circuit have approved the use of current hourly
rates to calculate the base lodestar figure as a means of compensating for the delay in receiving



                                                 9
    Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 16 of 33




the vigorous prosecution of the case, which included class certification, and the extensive efforts

undertaken during fact discovery both within the United States and Canada. The requested 25%

fee, which amounts to $2,625,000 (before interest), therefore represents a fractional or

“negative” multiplier of approximately 0.29 on Plaintiffs’ Counsel’s total lodestar – that is, less

than the value of the time incurred by Plaintiffs’ Counsel in the prosecution and resolution of this

litigation. Given that lodestar multipliers between 2 and 4.5 are commonly awarded in complex

class actions with substantial contingency risks, the negative multiplier of approximately 0.29

requested here strongly confirms the reasonableness of the requested fee. See, e.g., DeHoyos v.

Allstate Corp., 240 F.R.D. 269, 333 (W.D. Tex. 2007) (“The average range of multipliers applied

to other class actions has been from 1.0 to 4.5.         The range of multipliers on large and

complicated class actions have ranged from at least 2.26 to 4.5.”) (citation omitted); Klein, 705

F. Supp. 2d at 680 (awarding fee representing a 2.5 multiplier and noting that “[m]ultipliers in

this range are not uncommon in class action settlements” and that the 2.5 multiplier was

warranted “due to the risks entailed in this lawsuit and the zealous efforts of the attorneys that

resulted in a significant recovery for the class”).

       Courts have noted that a percentage fee that falls below counsel’s lodestar strongly

supports the reasonableness of the award. See, e.g., Flag Telecom, 2010 WL 4537550, at *26

(“Lead Counsel’s request for a percentage fee representing a significant discount from their

lodestar provides additional support for the reasonableness of the fee request.”).

payment. See Missouri v. Jenkins, 491 U.S. 274, 284 (1989); Leroy v. City of Houston, 831 F.2d
576, 584 (5th Cir. 1987) (“current rates may be used to compensate for inflation and delays in
payment”); In re Enron Corp. Sec., Derivative & ERISA Litig., 586 F. Supp. 2d 732, 763 (S.D.
Tex. 2008) (“One accepted method of compensating for a long delay in paying for attorneys’
services is to use their current billing rates in calculating the lodestar”).



                                                  10
       Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 17 of 33




         The hourly rates, which are Plaintiffs’ Counsel’s current rates and have been accepted by

numerous courts in other securities and shareholder litigation, are reasonable in light of

prevailing market rates for lawyers with comparable levels of experience and expertise in

securities litigation and other complex class action litigation. See In re Heartland Payment Sys.,

Inc. Customer Data Sec. Breach Litig., 851 F. Supp. 2d 1040, 1087-88 (S.D. Tex. 2012) (an

attorneys’ hourly rates should be judged in relation to “‘prevailing market rates for lawyers with

comparable experience and expertise’ in complex class action litigation,” and “[a]n attorney’s

requested hourly rate is prima facie reasonable when he requests that the lodestar be computed at

his or her customary billing rate, the rate is within the range of prevailing market rates[,] and the

rate is not contested”). Class Counsel’s blended rates here are $476 for attorneys, and $345 for

staff, which are reasonable. See, e.g., Billitteri, 2011 WL 3585983, at *9 (“the Court considers

an hourly rate of $487.63 to be reasonable for purposes of the lodestar calculation”); Klein, 705

F. Supp. 2d at 680 (approving use of $500 average hourly rate for calculating lodestar).

         In sum, whether calculated as a percentage of the fund or under the lodestar method, the

requested fee is within the range of fees awarded by courts in securities class actions.

Additionally, as set forth below, a review of the factors established by the Fifth Circuit in

Johnson further demonstrates that the requested fee would be fair and reasonable.

III.     OTHER FACTORS CONSIDERED BY COURTS IN THE FIFTH CIRCUIT
         CONFIRM THAT THE REQUESTED FEE IS FAIR AND REASONABLE

         The Fifth Circuit has set forth the following criteria that courts should consider when

reviewing a request for attorneys’ fees in a common fund case:

         (1) The time and labor required…[;] (2) The novelty and difficulty of the
         questions…[;] (3) The skill requisite to perform the legal service properly…[;] (4)
         The preclusion of other employment by the attorney due to acceptance of the


                                                 11
    Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 18 of 33




       case…[;] (5) The customary fee…[;] (6) Whether the fee is fixed or
       contingent…[;] (7) Time limitations imposed by the client or the
       circumstances…[;] (8) The amount involved and the results obtained…[;] (9) The
       experience, reputation, and ability of the attorneys…[;] (10) The “undesirability”
       of the case…[;] (11) The nature and length of the professional relationship with
       the client…[; and] (12) Awards in similar cases.8

Johnson, 488 F.2d at 717-19; see also Dell, 669 F.3d at 642 n.25 (reiterating Johnson factors);

Billitteri, 2011 WL 3585983, at *3 (same). In addition, Courts may consider additional factors,

such as (1) public policy considerations, (2) the Class Representatives’ approval of the fee, and

(3) the reaction of the class. Consideration of all of these factors provides further confirmation

that the fee requested here is reasonable.

       A.      The Johnson Factors Confirm that the Requested Fee Is Fair and Reasonable

       Under either the percentage or lodestar method, the Johnson factors confirm that the

requested that the requested fee awarded is reasonable. See Dell, 669 F.3d at 643-44.

               1.      The Time and Labor Required

       The time and effort expended by Class Counsel in prosecuting this Action and achieving

the Settlement establishes that the requested fee is justified. The Joint Declaration details the

substantial efforts of Class Counsel to prosecute the Class Representatives’ claims over nearly

three years of litigation. As set forth in greater detail in the Joint Declaration, Class Counsel:

              conducted an extensive factual investigation, which included a thorough review of
               publicly available information from sources such as SEC filings and public

       8
          Two of the Johnson factors – the “time limitations imposed by the client or the
circumstances” and the “nature and length of [counsel’s] professional relationship with the
client” are not relevant in this case. See Klein, 705 F. Supp. 2d at 676 (“not every factor need be
necessarily considered”); Schwartz, 2005 WL 3148350, at *28 (“The relevance of each of the
Johnson factors will vary in any particular case, and, rather than requiring a rigid application of
each factor, the Fifth Circuit has left it to the lower court’s discretion to apply those factors in
view of the circumstances of a particular case.”).



                                                 12
   Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 19 of 33




               reports and news articles concerning the SEC’s ongoing investigation of KBR
               relating to the alleged wrongful conduct; interviews with numerous former KBR
               employees and other individuals with relevant knowledge; and consultation with
               experts (¶¶ 13-14, 53-54);
              drafted and filed a detailed Consolidated Class Action Complaint (¶¶ 13-20);
              successfully moved for class certification (¶¶ 29-34);
              conducted two rounds of detailed briefing on Defendants’ motion to dismiss and
               argued against the motion (¶¶ 21-28);
              engaged in extensive fact discovery, including Class Counsel’s analysis of
               approximately 1.3 million pages of documents produced by Defendants and
               approximately 78,000 pages of documents produced by non-party KPMG (¶¶ 35-
               44, 50-54);
              took seven depositions of KBR representatives (including 3 in Canada pursuant to
               letters rogatory), and defended three depositions, including those of the Class
               Representatives and their market efficiency expert (¶¶ 45-49); and
              drafted mediation statements and engaged in extensive mediation efforts with
               former Judge Daniel Weinstein and Jed Melnick (¶¶ 55-56).


As noted above, Plaintiffs’ Counsel expended more than 19,573.70 hours investigating,

prosecuting and resolving this Action with a total lodestar value of more than $9,166,598.75.

The substantial time and effort devoted to this case by Plaintiffs’ Counsel, and their efficient and

effective management of the litigation, was critical in obtaining the favorable result achieved by

the Settlement, and this factor supports the fee request.

               2.      The Novelty and Difficulty of the Issues

       Courts have long recognized that securities class actions are generally complex and

difficult and that “Fifth Circuit decisions on causation, pleading and proof at the class

certification stage make PSLRA claims particularly difficult.” OCA, 2009 WL 512081, at *21.

As discussed above, this case involved complex questions and was vigorously defended. In

particular, there were many difficult and fact-intensive questions presented in the litigation,



                                                 13
   Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 20 of 33




including establishing the falsity of Defendants’ statements and proving scienter. Furthermore,

even if the Class Representatives were successful in proving liability at trial, Defendants were

prepared to argue that damages were minimal. ¶¶ 77-84.

       The significant risks to liability and damages are detailed in the Joint Declaration at ¶¶

65-85 and set forth in the Class Representatives’ brief in support of their motion for final

approval of the Settlement, so they will not be repeated at length here. In summary, Defendants

had numerous strong defenses to scienter, including that: (i) the Restatement was the result of

mistaken and subjective judgments made in the complex cost forecasting process for the

Contracts; (ii) the Individual Defendants were not aware that KBR’s financial statements were

incorrect when issued because the Contracts were accounted for and performed in Canada,

thousands of miles away from Houston, and none of the Individual Defendants was responsible

for preparing or reviewing the cost estimates at issue here; (iii) as soon as Defendants became

aware of a potential error in the cost forecasts they launched an investigation of the problem,

hired independent legal counsel and accounting advisors to assist in that investigation, made

public disclosure of the problem, and voluntarily restated the erroneous financial statements,

conduct which is at odds with fraudulent intent; (iv) Defendants followed industry practice in

estimating the costs to complete the Contracts, and those estimates ultimately proved incorrect

only when the Company received the “issued for construction drawings,” which showed, for the

first time, that the work needed to complete the modules was more complex and costly than

previously understood; (v) KBR’s auditor certified and signed-off on its 2013 financial

statements, indicating that the cost forecasts for the Contracts were the product of reasonable

assessments at that time; (vi) KBR purchased more than $90 million of its own stock in the open



                                              14
   Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 21 of 33




market during the Class Period and KBR’s Board authorized KBR to repurchase $350 million

worth of stock, which they would not have done if they knew the stock price was artificially

inflated; and (vii) there was no suspicious insider selling by any Defendant. ¶¶ 65-72.

       Defendants also had significant defenses with respect to the element of falsity. They

would have argued that: (i) the statements that they made on conference calls regarding KBR’s

Canadian operations were too vague and general to support a claim for fraud, and did not

specifically reference the cost forecasting for any of the Contracts at issue; and (ii) the May 5,

2014 statement disclosing the need to restate and the statements made on June 19, 2014

contained no false or misleading information. ¶¶ 75-76. Had Defendants’ liability arguments

been accepted, the Class would have recovered nothing.

       Even if Plaintiffs defeated all those arguments and established liability, they faced

extremely substantial hurdles in establishing damages. With respect to damages, Defendants

would have contended that: (i) no damages were recoverable for three of the four corrective

disclosures at issue in this case; and (ii) any remaining damages had to be significantly reduced

by disaggregating the impact of any “confounding” non-fraud related information disclosed to

the market, netting gains realized by Class Members through the sale of their stock at artificially

inflated prices during the Class Period, reducing the trading volume to remove market-making

activity, and other adjustments to the Class Period and damages model. ¶¶ 77-84. Had these

damages arguments been accepted, Plaintiffs’ damages expert estimates that Class-wide damages

would have been reduced to no more than approximately $21 million to $25 million.

       Accordingly, the difficult challenges presented by this case fully support the award of the

fee requested.



                                                15
   Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 22 of 33




               3.      The Skill Required to Perform the Legal Services Properly, and the
                       Experience, Reputation and Ability of the Attorneys

       Under these two Johnson factors, the Court should consider the skills required to litigate

the Action and “the experience, reputation and ability of the attorneys” involved. Considerable

litigation skills were required in order for Class Counsel to achieve the Settlement in this Action.

As noted above, this is a complex case involving difficult factual and legal issues on the merits,

and it was subjected to an extremely rigorous defense. Given the many contested issues, it took

highly skilled counsel to represent the class and bring about the substantial recovery that has

been obtained for the benefit of the Class.

       As demonstrated by their respective firm resumes (attached as Exhibits C to Exhibits 4 –

5 to the Joint Declaration), BLBG and Labaton are among the nation’s leading securities class

action firms. Class Counsel submit that the skill of their attorneys, the quality of their efforts in

the litigation, their substantial experience in securities class actions, and their commitment to the

litigation were key elements in enabling Class Counsel to negotiate this Settlement.

       Courts have also recognized that the quality of the opposition faced by plaintiffs’ counsel

should also be taken into consideration in assessing the quality of counsel’s performance. Here,

Defendants were represented by Vinson & Elkins LLP, a prestigious and experienced defense

firm, which vigorously and ably defended the Action for nearly three years. Notwithstanding

this formidable opposition, Class Counsel achieved a favorable settlement. See, e.g., DeHoyos,

240 F.R.D. at 326 (“The quality of class counsel’s work on this case was excellent and is

ultimately reflected in the result which was obtained with a formidable opponent.”); Schwartz,

2005 WL 3148350, at *30 (“The ability of plaintiffs’ counsel to obtain such a favorable




                                                 16
    Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 23 of 33




settlement for the Class in the face of such formidable legal opposition confirms the superior

quality of their representation”).

               4.      The Preclusion of Other Employment

       The considerable amount of time that Plaintiffs’ Counsel spent prosecuting the Action

was time that they could not spend pursuing other matters. Plaintiffs’ Counsel dedicated this

time and effort to the Action despite the very significant risks of no recovery and while deferring

any payment of their fees and expenses until a settlement was reached. This factor also supports

the requested fee. See, e.g., Burford, 2012 WL 5471985, at *3; Shaw, 91 F. Supp. 2d at 970.

               5.      The Customary Fee and Awards in Similar Cases

       As noted above, the fee requested by Class Counsel is well within the range awarded in

similar cases. See Section II above.

               6.      The Contingent Nature of the Fee

       The fully contingent nature of the fee requested by Class Counsel and the substantial

risks posed by the litigation are also important factors supporting the requested fee. “No one

expects a lawyer whose compensation is contingent upon his success to charge, when successful,

as little as he would charge a client who in advance had agreed to pay for his services, regardless

of success.” City of Detroit v. Grinnell Corp., 495 F.2d 448, 470 (2d Cir. 1974).

       As noted above and in the Joint Declaration, Class Counsel faced very significant

challenges to establishing liability and damages in this Action. Defendants vigorously contested

the elements of scienter, falsity, loss causation and damages and would have continued to do so

through summary judgment, trial, and any appeals.




                                                17
    Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 24 of 33




       In the face of these very real uncertainties regarding the outcome of the case, Class

Counsel prosecuted this Action on a wholly contingent basis, knowing that the litigation could

last for years and would require devotion of a substantial amount of attorney time and a

significant advance of litigation expenses with no guarantee of compensation. Class Counsel’s

assumption of this contingency fee risk, and its extensive litigation of the Action in the face of

these risks, strongly supports the reasonableness of the requested fee. See Billitteri, 2011 WL

3585983, at *7 (the contingent nature of counsel’s fee was “particularly relevant considering the

difficulty presented by the facts and legal questions in this case and the very real risk of

obtaining no recovery at all”); Klein, 705 F. Supp. 2d at 678 (where “class counsel represented

the class on a contingent-fee basis, with no guarantee of any recovery . . . [t]he contingent nature

of the fee favors an increase” in the fee); OCA, 2009 WL 512081, at *22 (where counsel faced

challenges in establishing scienter and loss causation and in proving liability and damages at

trial, “the risk plaintiffs’ counsel undertook in litigating this case on a contingency basis must be

considered in its award of attorneys’ fees, and thus an upward adjustment is warranted”).

               7.      The Amount Involved and the Results Achieved

       Another Johnson factor is the “overall degree of success achieved.” Roussel v. Brinker

Int’l, Inc., No. H-05-3733, 2010 WL 1881898, at *3 (S.D. Tex. Jan. 13, 2010), aff’d, 441 F.

App’x 222 (5th Cir. 2011). Here, Class Counsel has achieved a substantial recovery of $10.5

million for the benefit of the Class, which represents a significant portion of likely recoverable

damages.    ¶ 84.    The Settlement is all cash, and members of the Class will now receive

compensation that was otherwise uncertain – indeed, unlikely – when the case began. The result

achieved, in light of the substantial risks, is significant and supports the requested fee.



                                                  18
   Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 25 of 33




               8.      The Undesirability of the Case

       In certain instances, the “undesirability” of a case can be a factor in justifying the award

of a requested fee. While Class Counsel did not consider this case to be “undesirable,” there

were substantial risks in financing and prosecuting this case, and Class Counsel knew that they

would have to spend substantial time and money and face significant risks without any assurance

of being compensated for their efforts. Thus, the “undesirability” of the case also weighs in

favor of the requested fee. See, e.g., Billitteri, 2011 WL 3585983, at *8 (where a case “raised

particularly difficult issues,” including the risk of “no recovery whatsoever,” this factor

supported an increase in the fee); Braud v. Transport Serv. Co. of Ill., No. 05-1898, 2010 WL

3283398, at *13 (E.D. La. Aug. 17, 2010) (given the “risk of non-recovery” and the burdens of

“undertaking expensive litigation against . . . well-financed corporate defendants on a contingent

fee,” the Court found that “undesirability in this case warrants an increase in the fee award”).

       B.      Other Factors Considered by the Courts
               Further Support the Requested Fee as Fair and Reasonable

       In addition to the Johnson factors, Courts may consider certain other factors in

determining the appropriate fee in a class action case. See Camden I Condo. Ass’n v. Dunkle,

946 F.2d 768, 775 (11th Cir. 1991).

               1.      Public Policy Considerations Support the Requested Fee

       A strong public policy concern exists for rewarding firms for bringing successful

securities litigation. The Supreme Court has emphasized that private securities actions such as

this provide “‘a most effective weapon in the enforcement’ of the securities laws and are ‘a

necessary supplement to [SEC] action.’” Bateman, 472 U.S. at 310 (citation omitted); see also

Tellabs, 551 U.S. at 313. Accordingly, public policy favors granting Class Counsel’s requested


                                                19
   Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 26 of 33




fee and expense application here. See Jenkins, 300 F.R.D. at 309 (“Public policy concerns—in

particular, ensuring the continued availability of experienced and capable counsel to represent

classes of injured plaintiffs holding small individual claims—support the requested fee.”); Flag

Telecom, 2010 WL 4537550, at *29 (if the “important public policy [of enforcing the securities

laws] is to be carried out, the courts should award fees which will adequately compensate Lead

Counsel for the value of their efforts, taking into account the enormous risks they undertook”).

               2.      The Requested Fee Has Been Approved by the Class Representatives

       Class Representatives – APERS and IBEW Local No. 58 – are both sophisticated

institutional investors who were appointed pursuant to the PSLRA. As set forth in the Class

Representatives’ respective declarations, the Class Representatives oversaw the prosecution and

resolution of this Action, and had a sound basis for assessing the reasonableness of the fee

request. See Stone Decl. ¶¶ 3-4; Young Decl. ¶¶ 3-4. Each of the Class Representatives fully

supports and approves the fee request. See Stone Decl. ¶¶ 7-8; Young Decl. ¶¶ 7-8.

       The PSLRA was intended to encourage institutional investors like the Class

Representatives to assume control of securities class actions in order to “increase the likelihood

that parties with significant holdings in issuers, whose interests are more strongly aligned with

the class of shareholders, will participate in the litigation and exercise control over the selection

and actions of plaintiff’s counsel.” H.R. Conf. Rep. No. 104-369 (1995), reprinted in 1995

U.S.C.C.A.N. 730, 731 (1995). Congress believed that these institutions would be in the best

position to monitor the prosecution and to assess the reasonableness of counsel’s fee requests.

Accordingly, the Class Representatives’ endorsement of the fee request in this PSLRA action

supports its approval.    See, e.g., In re Veeco Instruments Inc. Sec. Litig., No. 05 MDL



                                                 20
      Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 27 of 33




01695(CM), 2007 WL 4115808, at *8 (S.D.N.Y. Nov. 7, 2007) (“public policy considerations

support the award in this case because the Lead Plaintiff . . . – a large public pension fund –

conscientiously supervised the work of lead counsel and has approved the fee request”); In re

Lucent Techs., Inc. Sec. Litig., 327 F. Supp. 2d 426, 442 (D.N.J. 2004) (“[s]ignificantly, the Lead

Plaintiffs, both of whom are institutional investors with great financial stakes in the outcome of

the litigation, have reviewed and approved Lead Counsel’s fees and expenses request”).

               3.     The Reaction of the Class to Date Supports the Requested Fee

        The reaction of the Class to date also supports the requested fee. As of June 19, 2017,

the Claims Administrator has disseminated the Notice to more than 58,000 potential Class

Members and nominees informing them of, among other things, Class Counsel’s intention to

apply to the Court for an award of attorneys’ fees of 25% of the Settlement Fund and payment of

up to $995,000 in expenses. See Exhibit 3-A ¶ 8. While the time to object to the fee and

expense application does not expire until July 4, 2017, to date, no objections have been received.

¶ 131. Class Counsel will address any future objections in their reply papers to be filed with the

Court on July 18, 2017.

IV.     THE REQUESTED EXPENSES ARE REASONABLE AND
        WERE NECESSARY TO ACHIEVE THE BENEFIT OBTAINED

        Class Counsel’s fee application includes a request for payment of Plaintiffs’ Counsel’s

litigation expenses that were reasonably incurred and necessary to the prosecution of this Action.

These expenses are properly recovered by counsel. See Billitteri, 2011 WL 3585983, at *10

(“Expenses and administrative costs expended by class counsel are recoverable from a common

fund in a class action settlement.”) (citation omitted). As set forth in the Joint Declaration,




                                                21
   Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 28 of 33




Plaintiffs’ Counsel incurred $816,260.97 in litigation expenses on behalf of the Class in the

prosecution of the Action. ¶¶ 119-127.

         The largest component of expenses related to experts. Specifically, $406,305.43, or

approximately 50%, was expended on experts and consultants. ¶ 122. Class Counsel retained

accounting and damages experts to assist in the prosecution and resolution of the Action. Class

Counsel’s main loss causation and damages expert assisted them during the preparation of the

Complaint, during the mediation and settlement negotiations with the Defendants, and assisted

Class Counsel with the development of the proposed Plan of Allocation. Class Counsel also

consulted with industry experts on issues pertaining to pipe fabrication and modular assembly.

         Another large component of the litigation expenses was for litigation support services,

which were needed to host the electronic documents produced by Defendants and KPMG and to

produce Class Representatives’ records to Defendants. These charges amounted to $108,584.50.

¶ 123. The Class’s portion of mediation costs totaled $50,812.61. ¶ 125. Class Counsel also

required Canadian counsel to assist with discovery efforts in Canada, which totaled $39,379.28.

¶ 124.

         The other expenses for which Class Counsel seeks payment are the types of expenses that

are necessarily incurred in litigation and routinely charged to clients billed by the hour. These

expenses include, among others, electronic research, court reporting fees, work-related

transportation, out-of-town travel, and copying costs. See generally, Exhibits 4-B to 6-B. The

foregoing expense items are not duplicated in the firms’ hourly rates.

         The Notice informed potential Class Members that Class Counsel would apply for

payment of litigation expenses in an amount not to exceed $995,000. The total amount of



                                                22
     Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 29 of 33




expenses requested, $816,260.97, is below the amount listed in the Notice and, to date, there has

been no objection to the request for expenses.

V.     CLASS REPRESENTATIVES SHOULD BE AWARDED THEIR REASONABLE
       COSTS AND EXPENSES UNDER 15 U.S.C. §78-U-4(A)(4)

       Lastly, in connection with their request for payment of Litigation Expenses, Class

Counsel also seek reimbursement of $7,113.64 in costs and expenses incurred directly by the

Class Representatives relating to their representation of the Class. The PSLRA specifically

provides that an “award of reasonable costs and expenses (including lost wages) directly relating

to the representation of the class” may be made to “any representative party serving on behalf of

a class.”   15 U.S.C. §78u-4(a)(4).    Here, the Class Representatives seek awards for time

dedicated by their employees in furthering and supervising the Action. Specifically, APERS

seeks reimbursement of $1,118.64 in expenses and IBEW Local No. 58 seeks reimbursement of

$5,995.00 in expenses. See Stone Decl. ¶¶ 9-11; Young Decl. ¶¶ 9-11.

       Class Representatives APERS and IBEW Local No. 58 each took active roles in the

litigation and have been fully committed to pursuing the Class’s claims since they became

involved in the litigation. For instance, the Class Representatives engaged in time-consuming

discovery efforts to search for and gather internal documents responsive to Defendants’

discovery requests. In addition, the Class Representatives prepared for, traveled to and testified

at depositions in connection with the class certification motion. Stone Decl. ¶ 4; Young Decl. ¶

4. These efforts required employees of the Class Representatives to dedicate considerable time

and resources to the Action that they would have otherwise devoted to their regular duties. The

requested reimbursement amounts are based on the hours that the Class Representatives’

employees committed to these activities. See Stone Decl. ¶¶ 10-11; Young Decl. ¶ 11.


                                                 23
   Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 30 of 33




       Numerous courts have approved reasonable awards to compensate lead plaintiffs for the

time and effort they spent on behalf of a class. In In re Marsh & McLennan Companies

Securities Litigation, No. 04 Civ. 8144 (CM), 2009 WL 5178546 (S.D.N.Y. Dec. 23, 2009), the

court awarded $144,657 to the New Jersey Attorney General’s Office and $70,000 to certain

Ohio pension funds, to compensate them “for their reasonable costs and expenses incurred in

managing this litigation and representing the Class.” Id. at *21. As the court noted, their efforts

were “precisely the types of activities that support awarding reimbursement of expenses to class

representatives.” Id.; see also In re Tetra Techs., Inc. Sec. Litig., No. 4:08-CV-00965 (S.D. Tex.

Sept. 29, 2010) (Ellison, J.) (awarding lead plaintiff $3,640.20 for reimbursement of reasonable

costs and expenses directly related to representation of the class under the PSLRA) (Exhibit 8);9

Simons v. Dynacq Healthcare, Inc., No. H-03-5825 (S.D. Tex. Jan. 10, 2007) (Ellison, J.)

(awarding 2 lead plaintiffs an aggregate amount of $7,077 as reimbursement for reasonable costs

and expenses (including lost wages) directly related to their representation of the class) (Exhibit

8); In re Seitel, Inc. Sec. Litig., No. 02-1566 (S.D. Tex. July 29, 2005) (Werlein, J.) (awarding

lead plaintiff $3,000 as reimbursement for reasonable costs and expenses (including lost wages),

directly relating to his representation of the class pursuant to the PSLRA) (Exhibit 8).

       The awards sought by Class Representatives are reasonable and justified under the

PSLRA based on their involvement in the Action from inception to settlement, and should be

granted.




       9
           Exhibit 8 is a compendium of the unreported cases cited herein.




                                                 24
   Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 31 of 33




                                         CONCLUSION

       For the foregoing reasons, Class Counsel respectfully request that the Court award

(i) attorneys’ fees in the amount of 25% of the Settlement Fund, or $2,625,000 plus interest

incurred at the same rate as the Settlement Fund; and (ii) payment of litigation expenses totaling

$823,374.61, including payment of Plaintiffs’ Counsel’s expenses in the amount of $816,260.97

and reimbursement of $7,113.64 to the Class Representatives for their costs and expenses

directly related to their representation of the Class. Class Counsel respectfully requests that 50%

of the attorneys’ fees awarded and 100% of the approved expenses be payable immediately upon

the Court’s approval of the fees and expenses, with the balance of the attorneys’ fees to be

payable when settlement distribution checks have been mailed to Authorized Claimants.10

Dated: June 20, 2017                                   Respectfully submitted,

 LABATON SUCHAROW LLP                                  BERNSTEIN LITOWITZ BERGER
                                                       & GROSSMANN LLP
 /s/ Louis Gottlieb
 Louis Gottlieb (pro hac vice)                         /s/ John Rizio-Hamilton
 140 Broadway                                          John Rizio-Hamilton (pro hac vice)
 New York, NY 10005                                    1251 Avenue of the Americas
 Telephone: (212) 907-0700                             New York, NY 10020
 Facsimile: (212) 818-0477                             Telephone: (212) 554-1400
 Email: lgottlieb@labaton.com                          Facsimile: (212) 554-1444
                                                       Email: johnr@blbglaw.com

                       Class Counsel for Class Representatives and the Class


                                     By: s/ Thomas R. Ajamie
                                        Thomas R. Ajamie
                                    (Texas Bar No. 00952400)

       10
          A proposed order will be submitted with Class Counsel’s reply papers, after the
deadline for objecting has passed.




                                                25
Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 32 of 33




                              AJAMIE LLP
                        Penzoil Place – South Tower
                         711 Louisiana, Suite 2150
                            Houston, TX 77002
                         Telephone: (713) 860-1600
                         Facsimile: (713) 860-1699
                        Email: tajamie@ajamie.com

                             Liaison Counsel




                                    26
   Case 4:14-cv-01287 Document 145 Filed on 06/20/17 in TXSD Page 33 of 33




                                CERTIFICATE OF SERVICE

       I certify that on this 20th day of June 2017, I caused the foregoing to be electronically

filed with Clerk of the Court using the CM/ECF system, which will send notification of such

filing to the email addresses denoted on the Electronic Mail Notice List.


                                                     By: /s/ Louis Gottlieb
